
679 So.2d 39 (1996)
IN the INTEREST OF K.D. and C.M., children.
M.M., natural father, Appellant,
v.
STATE of Florida, DEPARTMENT OF HEALTH AND REHABILITATIVE SERVICES, and C.J., natural mother, Appellees.
No. 94-03361.
District Court of Appeal of Florida, Second District.
August 16, 1996.
Ron Smith, Safety Harbor, for Appellant.
C. Bette Wimbish, St. Petersburg, for Appellee Department of Health &amp; Rehabilitative Services.
John E. Dubrule, St. Petersburg, for Appellee C.J.
DANAHY, Acting Chief Judge.
The father of a seven-year-old girl has filed a notice of appeal seeking reversal of an order returning the child to the custody of her mother.
The child was declared to be a dependent child on March 23, 1993. Thus the trial court retains jurisdiction until the child reaches eighteen years of age, unless jurisdiction is relinquished by order of the trial court. § 39.40(2), Fla. Stat. (1993). The trial court has not relinquished jurisdiction in this case.
The nonfinal order is not an appealable nonfinal order under Florida Rule of Appellate Procedure 9.130(a)(3). However, we believe that such an order may be reviewed by writ of certiorari. We treat the father's notice of appeal as a petition for writ of certiorari. Fla. R.App. P. 9.040(c). Finding no departure from the essential requirements of law, we deny the petition.
Petition denied.
PATTERSON and ALTENBERND, JJ., concur.
